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                     Exhibit C
Corporations: Registration Detail - WA Secretary of State
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              UBI Number                         278041846

              Category                           REG

              Profit/Nonprofit                   Profit

              Active/Inactive                    Active

              State Of Incorporation             WA

              WA Filing Date                     08/03/1962

              Expiration Date                    08/31/2017

              Inactive Date

              Duration

              Registered Agent Information

              Agent Name                         CT CORPORATION SYSTEM

              Address                            505 UNION AVE SE STE120


              City                               OLYMPIA

              State                              WA

              ZIP                                985010000

              Special Address Information


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              Address


              City

              State

              Zip


            Governing Persons
              Title                                    Name                   Address

              Chairman                                 GESSEL , GARY          1010 54TH AVE EAST
                                                                              FIFE , WA 98424

              Director,Secretary,Vice                  COLE , KENNETH         21001 VAN BORN ROAD
              President                                                       TAYLOR , MI 48180

              Director,Treasurer,Vice                  SZNEWAJS , JOHN        21001 VAN BORN ROAD
              President                                G                      TAYLOR , MI 48180

              Director,Vice President                  LEAMAN ,               21001 VAN BORN ROAD
                                                       LAWRENCE               TAYLOR , MI 48180

              Vice President                           STURGIS , MARK         1010 54TH AVENUE
                                                                              FIFE , WA 98424


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